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Thomas Avery Carter

4814 N Peregrine

Wichita, KS, 67219



3/6/23



To: The Honorable Judge Cooper

I would like to start by saying I have neve written a letter like this and while I’m more than happy to
write one for Michael, I’m saddened it’s under these circumstances.

I have had the pleasure of knowing Michael since 1999. It started as football teammates in high school
and now almost 25 years later we are brothers who’ve watched each other become fathers, husbands,
and men.

Michael has always been a pillar of our community and is the type of person to ask, “what can I do for
you?” in the most positive and genuine way. In our friendship, he has helped me through difficult times
in every way a brother should but what stands out to me is the way he is always there for me both
spiritually and emotionally.

In my conversations with him about his participation on the January 6 th Protests, he has always shown
remorse and understands now there are other ways he can show his love for our country and his respect
for government.

I pray that you see a man who has never had any legal issues and made one bad decision and not
someone who is a danger to society. If you could find a way to both serve justice and keep Michael
home where he can continue to be an amazing father, husband, and friend to so many we would all be
forever in your debt.



Thank you so much for taking the time to read this.

Respectfully,

Thomas A. Carter
